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  16
                                  UNITED STATES DISTRICT COURT
  17
                                CENTRAL DISTRICT OF CALIFORNIA
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       BRIANA BELNAVIS, on behalf of            Case No. 2:21-cv-07198-RGK-MAA
  20 herself and others similarly situated,
                                                [PROPOSED] ORDER GRANTING
                                                XXXXXXXXXXX
  21                     Plaintiff,             STIPULATION TO REMAND TO
  22            v.                              STATE COURT WITHOUT
                                                PREJUDICE [24]
  23 CURATIVE INC.; YOH SERVICES
       LLC; DAY & ZIMMERMANN
  24 INTERNATIONAL, INC.; and DOES 1            Judge: Hon. Gary Klausner
       to 100, inclusive,                       Crtrm: 850
  25
                         Defendants.
  26                                            Complaint filed: May 25, 2021
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       SMRH:4890-9807-7442.2
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